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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 16-cr-00122-REB-1

UNITED STATES OF AMERICA,

Plaintiff,

v.

1.      JOHN ALAN LITTLEFORD

        Defendant.


              DEFENDANT LITTLEFORD’s MOTION TO SUPPRESS EVIDENCE


             Defendant Dr. John Littleford, through counsel, moves this Court, for an order

 suppressing the patient files that were seized from his medical office during a search of

 those premises on 9 November 2012. Dr. Littleford makes this motion on the grounds

 that the evidence was seized in violation of the Fourth Amendment to the Constitution

 of the United States. More specifically, Dr. Littleford asserts that the files, all

 information contained in the files, and all evidence that is a fruit of the illegal

 Government conduct, must be suppressed because law enforcement did not have a

 warrant to search his office and to seize his files and because no legally valid consent

 to search the office, or other exception to the Fourth Amendment’s warrant requirement

 existed to search the office for said files.

             Background: In November, 2012, the Colorado Medical Board revoked Dr.

 Littleford's medical license. As a result, on 9 November, three DEA Diversion

 Investigators ("DI's") visited Dr. Littleford at his residence in Englewood, Colorado, in

 order to request that Dr. Littleford voluntarily surrender his DEA registration
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 (INV_00000217-218, ¶¶ 2-3). Dr. Littleford complied with the DI's request and signed

 a DEA form 104, "Voluntary Surrender of Controlled Substance Privileges"

 (INV_00000218, ¶ 4). After Dr. Littleford executed the voluntary surrender document,

 one of the DI's advised Dr. Littleford that the "DEA would need all unused DEA-222

 forms, any controlled substances not prescribed to Dr. LITTLEFORD for his personal

 use, and the DEA Registration Certificate." (Id.) [hereinafter "Three Types of Items"].

 In response, Dr. Littleford "stated that those items were back at his office in the lock

 box." (Id.) (emphasis added). Dr. Littleford further advised that he thought that a

 locum tenens physician also was at his practice but that he had not met her. (Id.)

        When the DEA agents arrived at Dr. Littleford's office, one of the agents told the

 locum tenens physician that Dr. Littleford had given verbal consent to the agents "to

 pick up" the Three Types of Items (INV_00000222, ¶ 13). Dr. Littleford did not give

 consent for a search of his office generally or particularly of his patient files. Dr.

 Littleford did provide the DEA consent to search his residence when the agents were

 there (INV_00000218, ¶ 5). That consent was set forth in writing in a DEA Form 88,

 a "Consent to Search" form (Id.). No such form was presented to, or executed by, Dr.

 Littleford with respect to his office premises.

          By contrast, when the DEA agents arrived at Dr. Littleford's office, they

 presented Dr. Ann Smith-Rudnick, the locum tenens physician they found there, with

 two DEA consent-to-search forms. The forms, as executed by Dr. Smith-Rudnick,

 alternately advised that she had authority to consent to a general search of Dr.




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 Littleford's office and that she freely did so (INV_00000240-241).1 In addition to

 noting, as discussed, supra., their interest in the Three Types of Items, the DEA agents

 also advised that they had a list of patient files which they would like to review

 (INV_00000222, ¶ 13).

        The DEA agents then conducted a search of Dr. Littleford's office. The agents

 seized various materials falling within the Three Types of Items, and they seized

 sixteen patient files ("Patient Files"). Dr. Littleford challenges here the legality of the

 search and seizure of those Patient Files.

         Argument: In general, searches and seizures are unreasonable and invalid

 unless based on probable cause and executed pursuant to a warrant. See City of

 Ontario v. Quon, 560 U.S. 746, 760 (2010) (warrantless searches generally per se

 unreasonable); Katz v. U.S., 389 U.S. 347, 357 (1967) (4TH Amendment imposes

 presumptive warrant requirement for searches and seizures); Johnson v. U.S., 333

 U.S.10, 14-15 (1948) (4th Amendment requires warrant for search and seizure unless

 preexisting exception applies). Consent is one such exception. Illinois v. Rodriguez,

 497 U.S. 177 (1990). “The prohibition [on warrantless searches] does not apply,

 however, to situations in which voluntary consent has been obtained, either from the

 individual whose property is searched . . . or from a third party who possesses common

 authority over the premises.” Id. at 181. “‘Common authority’ rests on mutual use of

 the property by persons generally having access or control for most purposes . . .” Id.

        As noted, supra., Dr. Littleford denies that he consented to a search of his office

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               The address for the search, which was written on both the consent forms that Dr.
               Smith-Rudnick executed, was incorrect; as such, the DEA did not literally have the
               consent of the locum tenens physician to search the premises that the agents actually
               searched.
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 for patient records. Furthermore, Dr. Littleford asserts that Dr. Smith-Rudnick had no

 authority to consent to a search and seizure of the patient files. “The government has

 the burden of proving the effectiveness of a third party’s consent.” United States v.

 Salinas-Cano, 959 F.2d 861, 864 (10th Cir. 1992) [citing to Illinois v. Rodriguez].

        Although the DEA’s report states that its agents encountered Smith-Rudnick at

 Littleford’s office and that she apparently was installed there as a locum tenens

 physician, the report is devoid of any mention that the agents made any inquiries about

 Smith-Rudnick’s status; about the extent of her authority over Dr. Littleford’s office, his

 effects, and, most critically, his patient files; about whether Smith-Rudnick even had

 any knowledge of the existence of any of the patients whose files she allowed the DEA

 carte blanche access to review and to seize; or about whether Smith-Rudnick had ever

 met with any of the patients whose files were taken such that she might have

 established a physician-patient relationship with these patients; etc. The DEA report

 does not even state that the agents were aware of, or inquired into the meaning of, the

 term locum tenens.

        The Government’s burden of proving the effectiveness of a third party’s consent

 to search “cannot be met if agents, faced with an ambiguous situation, nevertheless

 proceed without making further inquiry.” Salinas-Cano, 959 F.2d at 864. As just outlined,

 that is exactly what occurred here. Smith-Rudnick’s position and authority over Dr.

 Littleford’s patient files were ambiguous, at best. Rather than making an inquiry of

 Smith-Rudnick on any topic related to her status or authority, the agents instead simply

 asked her for consent to search, obtained it, and executed the search and seizure. In

 this situation, where the agents have “not learn[ed] enough, if the circumstances make
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 it unclear whether the property about to be searched is subject to ‘mutual use’ by the

 person giving consent, ‘then warrantless entry is unlawful without further inquiry.’” Id.

           The Government may contend that the DEA agents believed that Smith-Rudnick

 had apparent authority to consent to the search of Dr. Littleford’s patient records even if

 she lacked actual authority so to consent, because such apparent authority would

 validate the search under the Fourth Amendment. United States v. Romero, 749 F.3d

 900, 907 (10th Cir. 2014). However, “the ‘apparent authority’ doctrine does not

 empower the police to legitimize a search merely by the incantation of the phrase. The

 Supreme Court’s analysis of this subject instead rests entirely on the reasonableness

 of the officer’s belief. See Rodriguez, 110 S.Ct. at 2799-2801.” United States v.

 Salinas-Cano, 959 F.2d 861, 865 (10th Cir. 1992). In this instance, it was not reasonable,

 based upon the totality of the circumstances, for the DEA agents to conclude that Dr.

 Smith-Rudnick had even apparent authority to consent to the search of Dr. Littleford’s patient

 files.

          Accordingly, because the Government had no warrant and because no exception

to the warrant requirement (including consent) applied, the search and seizure of Dr.

Littleford’s patient files was unlawful under the Fourth Amendment. Therefore, the files

themselves and the information contained therein as well as the fruits of that illegal search

and seizure, namely, must be suppressed. Dr. Littleford so MOVES.




          Dated this 1st day of June, 2018.

                                                    Respectfully submitted,

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                           CERTIFICATE OF SERVICE

       I certify that on this 1st day of June, 2018, I electronically filed the foregoing
DEFENDANT LITTLEFORD’s MOTION TO SUPPRESS EVIDENCE with the Clerk of
Court using the CM/ECF system, which will send notification of such filing to all counsel of
record.



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